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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:06CR284-001

                                                     USM Number 21022-047

ROBERT J. LANDWEHR
                Defendant
                                                     DAVID R. STICKMAN

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count II of the Indictment on March 28, 2007.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded               Number(s)


 42:408(a)(4) AND 18:2 FRAUDULENTLY OBTAINED           September 28, 2005              II
 DISABILITY BENEFITS

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts I and III of the Indictment are dismissed on the motion of the United States as to this
defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                      July 9, 2007

                                                                         s/ Lyle E. Strom
                                                                Senior United States District Judge

                                                              July 16, 2007
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                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of five (5) years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                         STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     as directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.

14.
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                                SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing, that is, testing within fifteen (15) days
        of release on supervised release and to two (2) periodic drug tests thereafter, is suspended until
        further order of the court because the presentence investigation report on the defendant and other
        reliable sentencing information indicates a low risk of future substance abuse by the defendant.

3.      The defendant shall participate in the Home Confinement Program WITHOUT electronic monitoring
        for a period of 6 (six) consecutive months. Home confinement shall commence according to a
        schedule arranged by the Home Confinement Specialist for the District of Nebraska. The defendant
        shall comply with the provisions of the Home Confinement Participant Agreement for the District of
        Nebraska.

4.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the United States Probation officer to determine the
        presence of controlled substances, firearms or any other contraband. Any such items found may be
        seized by the United States Probation officer. This condition may be invoked with or without the
        cooperation of law enforcement officers.

5.      The defendant shall provide the United States Probation officer with access to any requested financial
        information.

6.      The defendant shall maintain proper debit, credit, and receipt ledgers for all business and personal
        transactions. These records shall be made available as requested by the probation officer.

7.      Defendant shall not make application for any loan, enter into any credit arrangement, or enter into any
        residential or business lease agreement without approval of the probation officer.

8.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit
        without prior written approval of the probation officer.

9.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer. Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program
        in an amount determined by the probation officer.

10.     The defendant shall report to the United States Probation office for the District of Nebraska at the
        conclusion of sentencing proceedings, 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402)
        661-7555, and thereafter as directed by the probation officer.
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                                CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

              $100.00                                                             $51,638.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

          interest requirement is waived.



                                                  FINE

          No fine imposed.

                                            RESTITUTION

         Restitution in the amount of $51,638.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                                **Total Amount              Amount of                or Percentage
     Name of Payee                  of Loss             Restitution Ordered           of Payment

 Social Security                  $51,638.00                 $51,638.00                 Priority
 Administration                                                                  Order/Percentage
 Debt Management
 Section
 P.O. Box 2861
 Philadelphia, PA 19122

 Totals                           $51,638.00                 $51,638.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                  SCHEDULE OF PAYMENTS


The defendant has paid the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

The defendant shall pay a minimum of $75 per month toward restitution. If the Social
Security Administration makes deductions from defendant’s disability payments, that
amount shall be included as part of the $75 monthly restitution payment.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
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CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
